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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : CRIMINAL NO.
v. :
KESSEY DURAND, : VIOLATION:
: 18 U.S.C. § 1343
Defendant. : (Wire Fraud)
FORFElTURE:

18 U.S.C. § 982(a)(2) and § 981(a)(l);
and 21 U.S.C. § 853(p)

I N F 0 R M A T I 0 N
v Case: 1:19-cr-00070
The United Stat¢s Anom¢y charges than Assigned To : Chief Judge Howell, Bery| A.
Assign. Date : 2/21/2019
Background DeSCripliOn: |NFORMAT|ON (A)
At all times relevant to this lnformation:
l. “Metabank” is a federally chartered savings bank headquartered in Sioux Falls,

SD. lt operates Meta Payment Systems, which offers various financial products, including
prepaid reloadable debit cards.

2.~ 'l'he Pension Benefit Guaranty Corporation (“PBGC”) is a federal corporation
within the U.S. Department of Labor. PBGC is headquartered in Washington, DC, with field
ofiices in five locations including Miami, FL, as well as a call center in Kingstowne, VA. PBGC
provides pension benefits to participants of private-sector defined benefit plans alier those plans
are terminated.

3. PBGC maintains a plan participant database that contains the names and the
associated pension plan of the participants as well as unique identifiers such as social security

numbers, dates of birth, residential details, and banking and routing information.

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4. PBGC transmits electronic funds transfer instructions every month from
Washington, DC, to PBGC’s paying agent, BANK-l. BANK-l pays monthly benefits to retirees
and beneficiaries on behalf of PBGC.

5. PBGC allows plan participants to conduct certain transactions regarding their
pension benefits through an online web application called MyPBA, accessible at
https://mypba.pbgc.gov, that is hosted on a server located in Washington, DC. These
transactions include applying for benefits, changing address or email inforrnation, and applying
and editing electronic direct deposit (“EDD”) information

6. MyPBA accounts can be created with a plan participant’s first and last name,
social security number, any email address, and the PBGC pension plan number. Once the
account is created, the user can make changes to EDD bank routing, view payment history, view
images of` previously mailed checks, update personal inforrnation, request benefit estimates, and
apply for benefits

7. On March 31, 2003, PBGC assumed responsibility for a retirement income plan
for COMPANY-l, and began paying the defined benefit pensions of some of COMPANY-l ’s
employees and retired employees in accordance with that plan.

The Defendant

8. At all times relevant to this lnformation, KESSEY DURAND, the defendant,
resided in Miami, FL.

9. From on or about January 2 to February 23, 2018, KESSEY DURAND, the
defendant, worked at PBGC’s Miami field of`fice. As part of his responsibilities, DURAND had

access to the database containing COMPANY-l ’s pension plan participant data.

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The Scheme to Dcfraud

lO. From on or about January 13 to June 18, 2018, KESSEY DURAND, the
defendant, engaged in a scheme to defraud PBGC out of monthly payments to COMPANY-l ’s
pension plan participants by redirecting EDD payments to Metabank accounts controlled by
DURAND.

ll. As part of this scheme, KESSEY DURAND, the defendant, used information he
obtained from the PBGC pension plan participant database to create and change MyPBA
accounts associated with COMPANY-l ’s pension plan participants through the MyPBA web
application Using MyPBA, DURAND changed the EDD information for those plan participants
so that PBGC, through BANK-l , would pay those participants’ monthly benefits to DURAND
rather than the participants

12. In other instances, KESSEY DURAND, the defendant, used information he
obtained fi'om the PBGC pension plan participant database to change EDD information for
COMPANY -1 ’s pension plan participants by calling the PBGC call center. DURAND thereby
instructed PBGC call center employees to change the EDD information for those plan
participants so that PBGC, through BANK-l , would pay those participants’ monthly benefits to
DURAND rather than to the participants

13. In no case did KESSEY DURAND, the defendant, have the lawful authority to
change EDD information for any COMPANY-l pension plan or to usc personal identifying
information to access, to set up, or to change any accounts for any such participant
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COUNT l
18 U.S.C. § 1343
(Wire Fraud)

The United States Attomey further charges:

14. The allegations contained in paragraphs l through 13 are repeated and realleged
as though fully set forth herein.

15. On or about January 16, 2018, in the District of Columbia and elsewhere,
KESSEY DURAND, the defendant, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means of false and fraudulent
pretenses, representations, and prornises, transmitted and caused to be transmitted by means of
wire, radio, and television communication in interstate and foreign commerce, any writings,
signs, signals, pictures, and sounds for the purpose of executing such scheme and artifice. At all
relevant times, DURAND acted with the intent to defraud.

16. On or about January 16, 2018, KESSEY DURAND, the defendant, used the
MyPBA web application to change the EDD information for the account of victim R.G. to a
Metabank account, ending in 3200, controlled by DURAND, thereby obtaining $6,323.92 of
R.G.’s monthly pension payment.

17. 'I'hrough the scheme and artifice to deli‘aud alleged herein, KESSEY DURAND,
the defendant, acquired approximately $39,663 in pension payments to which he was not
entitled, and he attempted to acquire a total of approximately $107,123.46 in pension payments
to which he was not entitled,

(All in violation of Title 18, United States Code, Section 1343.)

FORFElTURE ALLEGATION

18, As a result of committing the offense alleged in Count One of this lnformation,
KESSEY DURAND, the defendant, shall forfeit to the United States, pursuant to Title 18,

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United States Code, Section 982(a)(2)(A), any property constituting or derived from proceeds
obtained directly or indirectly as a result of the commission of that offense. The United States
'will also seek a forfeiture money judgment against the defendant equal to the value of any
property constituting, or derived from, proceeds the defendant obtained directly or indirectly, as
the result of that offense.

19. As a result of committing the offense alleged in Count One of this Inf`onnation,
KESSEY DURAND, the defendant, shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 981(a)(l)(D)(vi) and Title 28, United States Code, Section 2461(c),
any property, real or personal, which constitutes or is derived from proceeds traceable to that
offense. The United States will also seek a forfeiture money judgment against the defendant '
equal to the value of any property, real or personal, which constitutes or is derived li'om proceeds
traceable to that offense. .

Substitute Assets Provision
20. If` any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant:
a. cannot be-located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be divided without
difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the

value of the property described above, pursuant to Title 21 , United States Code, Section 853(p).

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(Title 18, United States Code, Section 982(a)(2)(A); Title 18, United States Code, Section
981(a)(l)(D)(vi); Title 28, United States Code, Section 2461(0); and Title 21, United States

Code, Section 853(p))

/s/
JESSIE K. LIU
UNITED STATES ATTORNEY

